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                       IN THE UNITED STATE DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Greenbelt Division

CAPITAL BANK, NA                                   )
2275 Research Boulevard                            )
Suite 600                                          )
Rockville, MD 20850                                )
                                                   )
      Plaintiff,                                   )
                                                   )
      v.                                           )   Civil Law No.: 20-cv-02402
                                                   )
POTOMAC CONSTRUCTION 1525 P STREET, LLC            )
A District of Columbia limited liability company   )
1734 20th Street, NW                               )
Suite B                                            )
Washington, DC 20009                               )
                                                   )
Serve: CT Corporation System                       )
       1015 15th Street, NW                        )
       Suite 1000                                  )
       Washington, DC 20005                        )
                                                   )
      And                                          )
                                                   )
MATTHEW SHKOR                                      )
1738 R Street, NW                                  )
Washington, DC 20009                               )
                                                   )
      Defendants.                                  )

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                 NOTICE OF ENTRY OF JUDGMENT BY CONFESSION

       To: POTOMAC CONSTRUCTION 1525 P STREET, LLC and MATTHEW SHKOR

       You are hereby notified that a Judgment by Confession has been entered against you in

this Court. You have thirty (30) days after service of this notice upon you to file a written

motion to open, modify or vacate the Judgment. If you file such a motion, it must be filed in the

Office of the Clerk of this Court, 6500 Cherrywood Lane, Greenbelt, Maryland 20770. You are

also required to serve a copy of such motion upon the attorney for Plaintiff, Lawrence J.

Anderson, Esquire, 119 N. Henry Street, Alexandria, VA 22314




Entered on: _______________                   ____________________________
                                              Clerk of Court


                              END OF ORDER




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